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Attorney for Plaintiff,
Cape Life Brand Company, LLC


                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
CAPE LIFE BRAND COMPANY, LLC,             )
                                          )
            Plaintiff,                    )
                                          )
                                          )                   CIVIL ACTION NO.
v.                                        )
                                          )
CAPE LIFE GIFTS INC.                      )
                                          )
            Defendant.                    )
__________________________________________)


                             COMPLAINT AND JURY DEMAND

       Plaintiff, Cape Life Brand Company, LLC, by its undersigned attorney, Lucas McArdle,

submits this Complaint against Defendant, Cape Life Gifts Inc. for willful trademark

infringement, unfair competition, false designation, dilution of protected marks/goods, injury to

business reputation, and false and deceptive business practices, all in violation of the laws of the

United States and the Commonwealth of Massachusetts. Plaintiff seeks a permanent injunction,

together with damages, including the profits of Cape Life Gifts Inc., trebled damages, punitive

damages, attorneys fees and costs and related relief as more fully described herein.




                                                     1
                                         PARTIES

1. Plaintiff, Cape Life Brand Company, LLC, (“Plaintiff” of “CLBC”) is a duly registered

   Massachusetts limited liability company with a principal business address of 54 Sugar

   Hill Drive, Harwich, MA 02654.

2. Upon information and belief, Defendant, Cape Life Gifts Inc. (“Defendant” or “CLG”), is

   a duly registered Massachusetts corporation with a location and principal business

   address of 337 Main Street, Harwich Port, MA 02646.

                                     JURSIDICTION

1. This Court has subject matter jurisdiction under section 39 of the Lanham Act, 15 U.S.C.

   § 1121, sections 1332(a), 1338(a) and 1338(b) of the Judicial Code, 28 U.S.C. § 1338(a)

   and § 1338(b). This Court has subject matter jurisdiction over the non-federal claims

   asserted herein pursuant to section 1367 of the Judicial Code, 28 U.S.C. § 1367(a), which

   provides supplemental jurisdiction.

2. Personal jurisdiction over Defendant is proper because Defendant is conducting business

   in this judicial district and committing torts in this state, including without limitation

   Defendant’s trademark infringement, unfair competition, and deceptive trade practices,

   which cause harm in this state and in this judicial district.

3. Venue properly lies in the judicial district under sections 1391(b) and (c) of the Judicial

   Code, 28 U.S.C. § 1391(b) and (d), because a substantial portion of the events at issue

   have arisen and/or will arise in this judicial district and because this Court has personal

   jurisdiction over Defendant. In a trademark infringement lawsuit, a substantial part of the

   events giving rise to the claim occurs in any district in which consumers are likely to be




                                                  2
   confused by the infringing goods or services, whether that occurs in one district or many

   districts.

                   FACTS COMMON TO ALL CLAIMS FOR RELIEF

4. CLBC is an apparel and general brand company that duly established its company in

   April of 2015.

5. CLBC provides e-commerce services through its website at www.capelifebrand.com1 at a

   national level but the local Cape Cod, Massachusetts region is its core market where

   CLBC sells its products through third party retail shops/vendors, at various Cape Cod

   community events/festivals and via its commercial mobile merchandise bus.

6. Defendant, Cape Life Gifts Inc., is a gift shop that sells furniture, jewelry, beach items,

   gifts, clothing, decorations, souvenirs and other items that are displayed on its website

   https://www.capelifegifts.com/.

7. On understanding and belief, Defendant, prior to the time period subject to this claim, has

   been solely a gift shop that sells third-party products within its shop, specifically

   promoting clothing brands on its website such as Salty Dog, Salt Life, MV Sports and

   Legacy Hats, and also selling general clothing with “Cape Cod”, “Harwichport” or

   similar unprotected geographic marks.

8. CLBC and Defendant’s consumer bases both predominantly consist of Cape Cod

   travelers/vacationers and local constituents.

9. The Cape Cod clothing retail and apparel companies consist of a tight-knit community of

   businesspersons that are very familiar with each other’s brands and that community is

   very familiar with CLBC’s marks and brand.



   1
       See Exhibit A for CLBC example web-site page

                                                      3
10. On May 12, 2015, CLBC trademarked the term/words “Cape Life Brand Company” in

   Massachusetts for Class 21 and 25 goods, including but not limited to t-shirts,

   sweatshirts, tank tops, wine glasses, pint glasses, shot glasses, koozies, sticker/decals,

   hats and beach towels2, which was renewed on May 11, 20203.

11. On July 9, 2020, CLBC further trademarked the term/words “Cape Life” in

   Massachusetts similarly under Class 21 and 254.

12. CLBC also owns Massachusetts trademark rights for “Cape Life Kid”, “Entering Cape

   Life” and “That’s Cape Life”5.

13. On July 1, 2019, CLBC filed for federal trademark protection with the United States

   Patent and Trademark Office (“USPTO”) for Cape Life Brand Company’s stylized mark,

   which was registered on October 6, 20206.

14. On June 14, 2020, CLBC filed for federal trademark protection with the USPTO for the

   term/words “Cape Life”, which was published for opposition on October 27, 2020, and

   subsequently registered on January 12, 20217.

15. The “Cape Life” words/term is and has always been the basis for CLBC’s brand and the

   marketing of its products and CLBC was the first company to introduce and utilize the

   term in marketing and selling its products and in general commerce on Cape Cod.

16. On June 17, 2021, service of a CLBC Cease & Desist letter/demand (“C&D”) was made

   on Defendant’s Agent for Service, Arthur Wright, in hand8.




   2
     See Exhibit A – MA Registration Number 80801
   3
     See Exhibit A – MA Registration Number 89097
   4
     See Exhibit B – MA Registration Number 89313
   5
     See Exhibit G
   6
     See Exhibit C – U.S. Registration Number 6166932
   7
     See Exhibit D – U.S. Registration Number 6244124
   8
     See Exhibit E C&D letter

                                                    4
17. As set forth in said C&D, CLBC approached Defendant during early summer of 2020 to

   inquire as to whether Defendant would be interested in selling CLBC apparel in

   Defendant’s store.

18. Defendant had no apparel or items otherwise for sale that utilized the term “Cape Life” at

   that time nor any time prior to the inquiry during the summer of 2020.

19. Defendant declined the offer from CLBC.

20. In early June of 2021, CLBC was notified that Defendant had copied and developed a

   specific “Cape Life” apparel line9 – even utilizing a cursive “Cape Life” mark on some of

   the items that is strikingly similar to CLBC’s “Cape Life” mark within its “Cape Life

   Brand Company” logo and that utilized on all of its apparel and as registered with the

   USPTO. (Defendant’s mark hereinafter referred to as “Infringing Mark”).

21. On understanding and belief Defendant is also utilizing and/or selling Stickers that also

   contain the words/term “Cape Life” without “Gifts” or any other distinguishing

   characteristics.

22. CLBC was and continues to be contacted by consumers that mistakenly assume that the

   Infringing Mark in Defendant’s store were/are in fact apparel manufactured and/or sold

   by CLBC – mark/brand confusion has already occurred.

23. Defendant intentionally utilized the Infringing Mark and is benefitting from CLBC’s

   marks, brand recognition and exhaustive marketing efforts.

24. The quality of Defendant’s Infringing Mark is also inferior to and cheaper than that of

   CLBC’s and is therefore undermining and devaluing CLBC’s quality control and pricing.




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       See Exhibit F for examples of the clothes being sold in Defendant’s store

                                                          5
25. Defendant has refused to abide by the C&D demand and continues to utilize the

   Infringing Mark on apparel sold in its store and potentially online or elsewhere.

26. Defendant was on direct notice of CLBC’s business and products prior to developing the

   Infringing Mark and has intentionally and willfully infringed on CLBC’s exclusive and

   established rights to market and sell “Cape Life” designated apparel – even after said

   demand to cease and desist use of the Infringing Mark.

                                  COUNT I
  (Trademark Infringement under Section 32 of the Lanham Act, 15 U.S.C. § 1114
                          and under Common Law)

27. Plaintiff incorporates by reference each and every allegation contained in the above

   paragraphs as if fully set forth herein.

28. Defendant’s use of the Infringing Mark to sell, distribute, advertise and offer to sell

   apparel without CLBC’s consent is deceptive and causing confusion.

29. The “Cape Life Brand Company” mark and the “Cape Life” mark are entitled to

   protection pursuant to said state and federal trademark registrations, together with further

   common law protections.

30. Upon information and belief, Defendant’s infringement of CLBC’s mark(s) is willful and

   reflects Defendant’s intent to trade on the goodwill of the same.

31. Plaintiff has been damages by the unauthorized use of the Infringing Mark by Defendant

   in an amount to be determined at trial.

32. Upon information and belief, Defendants’ infringing actions will continue unless

   enjoined by this Court.

33. Plaintiff has no adequate remedy at law and will suffer irreparable harm to its business,

   reputation, and goodwill unless Defendant’s unlawful conduct is enjoined by this Court.


                                                  6
                                    COUNT II:
    (False Designation under Section 43 of the Lanham Act, 15 U.S.C. § 1125(a)
                            and under Common Law)

34. Plaintiff incorporates by reference each and every allegation contained in the above

   paragraphs as if fully set forth herein.

35. Defendant’s sale, distribution, advertising and offer to sell apparel/products utilizing the

   Infringing Mark constitutes a false designation of origin, suggesting to consumers that

   Defendant is associated or affiliated with Plaintiff.

36. Upon information and belief, Defendant’s false designation of origin has been made in

   connection with services/goods from which it makes a profit.

37. Defendant’s false designation of origin has and is likely to continue to cause confusion,

   mistake, or deception as to the origin, sponsorship, or approval by Plaintiff of the

   apparel/products provided by Defendant under the Infringing Mark.

38. Upon information and belief, Defendant’s false designation of origin is willful and

   reflects Defendant’s intent to trade on the goodwill of the same.

39. Defendant’s false designation of origin has damaged Plaintiff in an amount to be

   determined at trial.

40. Upon information and belief, Defendant’s infringing actions will continue unless

   enjoined by this Court.

41. Plaintiff has no adequate remedy at law and will suffer irreparable harm to its business,

   reputation, and goodwill unless Defendant’s unlawful conduct is enjoined by this Court.




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                                      COUNT III:
               (Unfair and Deceptive Trade Practices under M.G.L. c. 93A)

  42. Plaintiff incorporates by reference each and every allegation contained in the above

     paragraphs as if fully set forth herein.

  43. Defendant is, and at all relevant times has been, engaged in commerce.

  44. Defendant has provided services/goods and, on information and belief, continues to

     provide services/goods under the Infringing Mark primarily and substantially within the

     Commonwealth of Massachusetts and Cape Cod specifically.

  45. By the above-described conduct, Defendant engaged in unfair or deceptive trade practices

     in violation of Mass. Gen. Laws Ch. 93A.

  46. Defendant’s unfair and deceptive trade practices have been willful and knowing.

  47. Defendant’s conduct has damaged Plaintiff in an amount to be determined at trial.

                                       COUNT IV:
(Dilution of Plaintiff's Marks and Injuries to Business Reputation under M.G.L. c. 110H)

  48. Plaintiff incorporates by reference each and every allegation contained in the above

     paragraphs as if fully set forth herein.

  49. By the above-described conduct, Defendant has engaged in trademark dilution and

     caused injury to Plaintiff’s business reputation in violation of Massachusetts General

     Laws Chapter 110H.

  50. Plaintiff has been injured by said conduct and are entitled to injunctive relief.

                                      COUNT V:
                             (Common Law Unfair Competition)

  51. Plaintiff incorporates by reference each and every allegation contained in the above

     paragraphs as if fully set forth herein.

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52. By the above-described conduct, Defendant has engaged in unfair competition under

   common law.

53. Plaintiff has been damaged by such conduct in an amount to be determined at trial.

54. Unless stopped by an injunction, Defendant’s behavior will continue and will cause

   Plaintiff to suffer irreparable harm for which there is no adequate remedy at law.

   Therefore, Plaintiff is entitled to injunctive relief, together with damages for such

   conduct.

                                  RELIEF REQUESTED

   WHEREFORE, Plaintiff requests that the Court enter judgment on each Count set forth

   above and against Defendant as follows:

       1. Awarding Plaintiff actual damages in an amount to be determined at trial;

       2. Awarding Plaintiff exemplary and punitive damages against Defendant, in an

           amount to be determined at trial;

       3. Ordering an accounting by Defendant and Awarding Plaintiff the amount of any

           profits realized by Defendant by reason of Defendant’s unlawful and willful acts

           as set forth herein;

       4. Awarding Plaintiff double or treble damages in an amount to be determined at

           trial;

       5. Awarding Plaintiff its reasonable litigation expenses and attorney’s fees;

       6. Awarding Plaintiff pre- and post-judgment interest;

       7. Ordering a permanent injunction enjoining Defendant, and any successors or

           assigns, and its principals, officers, partners, agents, subcontractors, servants,

           employees, attorneys, affiliates, licensees, subsidiaries and related companies or

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      entities, and all others acting in active concert or participation with it from

      utilizing the words/term/mark “Cape Life” on its apparel whatsoever or marketing

      the same for sale; immediately removing said apparel from in store sale displays

      and for sale otherwise; from use on stickers, other general products and marketing

      materials that do not contain the distinguishing feature of “Gifts” and its known

      business as a gift shop; and from otherwise competing unfairly with Plaintiff in

      any manner related to the term “Cape Life”.

   8. Ordering the destruction of any printed apparel and products specifically set forth

      in the above paragraph, including advertising materials and point-of-sale displays.

   9. Ordering Defendant to file with the Court and serve upon Plaintiff within thirty

      (30) days after service of the injunction upon Defendant, a report in writing and

      under oath setting forth in detail the manner and form in which Defendant has

      complied with the injunction.

   10. For such other and further relief as the Court shall deem appropriate.



        Plaintiff Requests a Trial by Jury On All Matters So Triable



                                             Respectfully submitted,
                                             Cape Life Brand Company, LLC,
                                             By its attorney,

August 3, 2021                               /s/ Lucas B. McArdle_____
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